AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the Distri ct Where Charges are Pending and Transferring Bail             FILED
                                                                                                                                  HARRISBURG, PA
                                        UNITED STATES DISTRICT COURT
                                                                            fo r the
                                                                                                                                      JAN f,,~ ~
                                                          Middle District of Pennsylvania
                                                                                                                             PER_--;::~~r:::-::=-:--'.=-:-----
                                                                                                                                       DEPUTY CLERK
                   United States of America                                     )
                                   V.                                           )       Case No. 1 :21-MJ-007
                                                                                )
                   RILEY JUNE WILLIAMS                                          )       Chargi ng District:         District of Columbia
                              Defe ndant                                        )       Charging District's Case No. 21-MJ-099



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: U.S . District Court - District of Columbia                                      Courtroom No.: Appear by Video as Directed
       333 Constitution Ave , N.W ., Rm 1225
       Washington, DC 20001                                                             Date and Time:

         The clerk is ordered to transfer any bai l deposited in the registry of this court to the cle rk of the court where the
charges are pending.


Date:
                                                                                                            Judge's signature


                                                                                    Martin C. Carlson , United States Magistrate Judge
                                                                                                         Printed name and title
